
The Disciplinary Review Board having filed with the Court its decision in DRB 18-132, concluding that as a matter of final discipline pursuant to Rule 1:20-13(c), Preston I. Fulford of Newark, who was admitted to the bar of this State in 1998, should be suspended from the practice of law for a period of three months because of his adjudication of guilt of simple assault conduct in violation of RPC 8.4(b) (commission of a criminal act that reflects adversely on the lawyer's honesty, trustworthiness, or fitness as a lawyer in other respects); and good cause appearing;
It is ORDERED that Preston I. Fulford is suspended from the practice of law for a period of three months and until the further Order of the Court, effective April 22, 2019; and it is further
ORDERED that respondent comply with Rule 1:20-20 dealing with suspended attorneys; and it is further
ORDERED that pursuant to Rule 1:20-20(c), respondent's failure to comply with the Affidavit of Compliance requirement of Rule 1:20-20(b)(15) may (1) preclude the Disciplinary Review Board from considering respondent's petition for reinstatement for a period of up to six months from the date respondent files **253proof of compliance; (2) be found to constitute a violation of RPC 8.1(b) and RPC 8.4(d) ; and (3) provide a basis for an action for contempt pursuant to Rule 1:10-2; and it is further
ORDERED that the entire record of this matter be made a permanent part of respondent's file as an attorney at law of this State; and it is further
ORDERED that respondent reimburse the Disciplinary Oversight Committee for appropriate administrative costs and actual expenses incurred in the prosecution of this matter, as provided in Rule 1:20-17.
